       Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 1 of 14




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                 KANSAS CITY DIVISION

FRED NEKOUEE, individually,                        :
                                                   :
                Plaintiff,                         :
                                                   :
vs.                                                : Case No. 2:18-cv-02628
                                                   :
HRA FOUNTAINS, LP, a Delaware limited              :
partnership;                                       :
                                                   :
CHEESECAKE RESTAURANTS OF                          :
KANSAS LLC, a Kansas limited liability             :
company; and                                       :
                                                   :
THE CHEESECAKE FACTORY                             :
RESTAURANTS, INC., a California                    :
corporation;                                       :
                                                   :
            Defendants.
_______________________________________

                                         COMPLAINT
                                  (Injunctive Relief Demanded)


       PLAINTIFF, FRED NEKOUEE, individually, on his behalf and on behalf of all other

mobility impaired individuals similarly situated (sometimes referred to as “Plaintiff”), hereby sues

the Defendants, HRA FOUNTAINS, LP, a Delaware limited partnership; CHEESECAKE

RESTAURANTS OF KANSAS LLC, a Kansas limited liability company; and THE

CHEESECAKE FACTORY RESTAURANTS, INC., a California corporation; (sometimes

referred to as “Defendants”), for declaratory and injunctive relief, and attorney’s fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”).

       1.      Plaintiff, Fred Nekouee, is an individual who resides in Lutz, Florida, in the County

of Hillsborough.
       Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 2 of 14




        2.      Defendant HRA Fountains, LP’s property, is located at 6675 W. 119th Street,

Overland Park, Kansas 66209, in Johnson County.

        3.      The Defendant HRA Fountains, LP’s property is located in and does business

within this judicial district.

        4.    The Defendant Cheesecake Factory Restaurants of Kansas LLC owns, leases, leases

to, or operates The Cheesecake Factory restaurant located at 6675 W. 119th Street, Overland Park,

Kansas 66209 (“The Cheesecake Factory”).

        5.    The Defendant The Cheesecake Factory Restaurants, Inc. owns, leases, leases to, or

operates The Cheesecake Factory.

        6.      Venue is proper in the District of Kansas, Kansas City Division because the situs of

the Defendants’ property, restaurant and store lie in this judicial district.

        7.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

original jurisdiction over actions which arise from the Defendants’ violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

        8.      Defendants own, lease, lease to, or operate The Cheesecake Factory, a place of

public accommodation as defined by the ADA and the regulations implementing the ADA, 28

CFR 36.201(a) and 36.104.

        9.      Defendants are responsible for complying with the obligations of the ADA.

        10.     Plaintiff Fred Nekouee is a Florida resident, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Fred Nekouee has progressive multiple

sclerosis and requires the use of a wheelchair for mobility.

        11.     Mr. Nekouee travels to the Kansas City area every three to six months to

accompany his brother at heavy equipment auctions, or to visit heavy equipment dealerships,



                                                   2
       Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 3 of 14




where he assists his brother compare prices to equipment available in other areas, or to help his

brother evaluate whether to buy or sell heavy equipment, or to visit his uncle or cousin who both

live in such area.

        12.     The Plaintiff, Fred Nekouee, has visited, bought goods, and sought to avail himself

of the goods and services at The Cheesecake Factory on July 12, 2018, which form the basis of

this lawsuit.

        13.     Fred Nekouee plans to return to the property to avail himself of the goods and

services offered to the public at the property since it is close to and convenient to the heavy

equipment auction and dealerships he visits, and to the home of his uncle and cousin he visits in

the Kansas City area, and to the hotels he stays at in the Kansas City area.

        14.     The Plaintiff visited The Fountains shopping center in March 2018 near the

Cheesecake Factory.

        15.     The Plaintiff also has visited the Kansas City area near The Cheesecake Factory in

September 2018.

        16.     The Plaintiff has definite plans to return to the Kansas City area in December 2018.

        17.      The Plaintiff enjoys the menu at The Cheesecake Factory, and because it is a chain,

he generally knows the quality of the food and the menu.

        18.      The Plaintiff plans to return to dine at The Cheesecake Factory, but is deterred

from eating there again until the barriers to access he encountered there are removed.

        19.     The Plaintiff is deterred from returning to The Cheesecake Factory until it is made

accessible to him in his wheelchair.

        20.     The Plaintiff has encountered architectural barriers at the subject property. The

barriers to access that the Plaintiff encountered at the property have endangered his safety in his



                                                  3
       Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 4 of 14




wheelchair, impaired his ability to access the property due to excessively steep slopes in parking

spaces for the disabled, access aisles and walking surfaces, and have impaired and denied him the

full use of the men’s and women’s restrooms in The Cheesecake Factory, and have impaired and

denied his access to the goods and services at The Cheesecake Factory.

        21.    The Plaintiff’s need to use a wheelchair limits his mobility when surfaces are not

nearly flat.

        22.    The Plaintiff cannot move up or down steep inclines in his wheelchair because he

lacks the strength and also risks tipping his wheelchair forwards or backwards.

        23.    Excessively steep cross slopes cause the Plaintiff to be unstable in his wheelchair,

and such excessively steep cross slopes pose a risk of causing the Plaintiff to tip over sideways in

his wheelchair.

        24.    On his visit to The Cheesecake Factory, the Plaintiff encountered, excessively steep

running slopes and cross slopes in its parking lot, access aisles, ramps and walking surfaces

(sidewalks).


        25.    The Plaintiff also encountered barriers to access in the men’s and women’s

restrooms in The Cheesecake Factory.


        26.    After encountering barriers to access in the men’s restroom in The Cheesecake

Factory, the Plaintiff tried the women’s restroom there.

        27.    The Plaintiff is deterred from visiting The Cheesecake Factory even though he

enjoys their goods and services, because of the difficulties he will experience there until the

property and place of public accommodation are made accessible to him in a wheelchair.

        28.    The Plaintiff is deterred from visiting The Cheesecake Factory, a place of public



                                                 4
       Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 5 of 14




accommodation, even though it is close to the heavy equipment auction, heavy equipment

dealerships, the home of his uncle and cousin in the Kansas City area, and to the hotels he stays at

in such area, because of the difficulties he will experience there in the parking lot, access aisles,

ramps, walking surfaces (sidewalks), and restrooms until the property is made accessible to him

in a wheelchair.

       29.       Fred Nekouee has a realistic, credible, existing and continuing threat of

discrimination from the Defendants’ non-compliance with the ADA with respect to this property

as described but not necessarily limited to the allegations in paragraph 35 of this Complaint.

       30.      Plaintiff has reasonable grounds to believe that he will continue to be subjected to

discrimination in violation of the ADA by the Defendants.

       31.      Fred Nekouee desires to visit The Cheesecake Factory not only to avail himself of

the goods and services available at the property but also to assure himself that this property is in

compliance with the ADA so that he and others similarly situated will have full and equal

enjoyment of the property without fear of discrimination.

       32.       The Defendants have discriminated against the individual Plaintiff Fred Nekouee

by denying him access to, and full and equal enjoyment of, the goods, services, facilities,

privileges, advantages and/or accommodations of the buildings, as prohibited by 42 U.S.C. §

12182 et seq.

       33.       The Defendants have discriminated, and are continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of

$500,000 or less).

       34.       Preliminary inspections of The Cheesecake Factory show that violations exist.



                                                  5
       Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 6 of 14




       35.     The violations that the Plaintiff, Fred Nekouee, personally encountered or observed

on his visit to The Cheesecake Factory include, but are not limited to:

                PARKING AREA

             a. In the parking lot, the running slope of the front section of the access aisle serving
       the disabled parking spaces is as steep as about 1:27.8 (3.6%), which slope is steeper than

       the maximum allowed slope of 1:48 (2%), in violation of Federal Law 2010, ADAAG §

       502.4. This steep slope made it very difficult for the Plaintiff, a disabled individual who

       requires a wheelchair for mobility, to stay stable while moving to and from The Cheesecake

       Factory. This condition deters him and other disabled individuals like him who require

       the use of a wheelchair for mobility from visiting The Cheesecake Factory.

             b. As shown in the photographs below taken on July 12, 2018, the running slope of
       the walking surface toward The Cheesecake Factory is as steep as about 1:12.8, which

       slope is steeper than the maximum allowed slope of 1:48 (2%), in violation of Federal Law

       2010, ADAAG § 502.4. The Plaintiff encountered this steep slope while moving in his

       wheelchair and it made him unstable in his wheelchair.




                                                   6
Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 7 of 14




   c. The cross slope of the walking surface from the accessible ramp to the restaurant is
as steep as about 1:7.9 (12.7%), which slope is steeper than the maximum allowed slope

of 1:48 (2%), in violation of Federal Law 2010, ADAAG § 403.3. This steep slope makes

it very difficult for a disabled individual who requires a wheelchair for mobility to stay

stable while moving over this walking surface. This condition deters him and other

disabled individuals like him who require the use of a wheelchair for mobility from visiting

The Cheesecake Factory.

   d. The running slope of the accessibility ramp is as steep as about 1:9.2 (10.9%),

                                         7
Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 8 of 14




which slope is steeper than the maximum allowed slope of 1:12 (8%), in violation of

Federal Law 2010, ADAAG § 405.2. The Plaintiff encountered this condition, and it

made him unstable in his wheelchair. Such steep slope deters him and other disabled

individuals who require a wheelchair for mobility from visiting The Cheesecake Factory.

   e. The running slope of the van accessibility ramp is as steep as about 1:9.9 (10.1%),
which slope is steeper than the maximum allowed slope of 1:12 (8%), in violation of

Federal Law 2010, ADAAG § 405.2. The Plaintiff observed this condition. Such a steep

slope deters him and other disabled individuals who require a wheelchair for mobility from

visiting The Cheesecake Factory.

   f. The accessibility ramps do not have a landing at the top of the ramp run, in violation
of Federal Law 2010, ADAAG § 405.7. The Plaintiff encountered the lack of a landing

at the top of a ramp run and this condition made it very difficult to maneuver his wheelchair.

   g. The slope of the surface within the entrance door required maneuvering space of
60 inches is as steep as about 1:18.5 (5.4%), which slope is steeper than the maximum

allowed slope of 1:48 (2%) within the door maneuvering space, in violation of Federal Law

2010, ADAAG § 404.2.4.4. As a result of the slope within the door maneuvering space,

the Plaintiff slipped sideways in his wheelchair and required assistance to enter The

Cheesecake Factory.

   INTERIOR FOOD SERVICE AND ENTRANCE DOOR

   h. The force needed to open the entrance door to The Cheesecake Factory is about
12 pounds, which force exceeds the maximum allowed force of 5 pounds (22.2 N)

pertaining to the continuous application of force necessary to fully open a door, in violation

of Federal Law 2010, ADAAG § 404.2.9.            The Plaintiff had difficulty opening the


                                          8
Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 9 of 14




entrance door to The Cheesecake Factory, and he required assistance to open this door.

   i.    The force needed to open the interior foyer door to The Cheesecake Factory is

about 10 pounds, which force exceeds the maximum allowed force of 5 pounds (22.2 N)

pertaining to the continuous application of force necessary to fully open a door, in violation

of Federal Law 2010, ADAAG § 404.2.9. The Plaintiff had difficulty opening this foyer

door to The Cheesecake Factory, and he required assistance to open this door.

   j. Counter tops in The Cheesecake Factory are 40 inches above the finish floor and
higher than the maximum allowed height of 36 inches above the finish floor, in violation

of Federal Law 2010, ADAAG § 904.4.1. The Plaintiff encountered these high counter

tops.

   MEN’S RESTROOM

   k.     The force needed to open the entrance door to the men’s restroom in The

Cheesecake Factory is about 10 pounds, which force exceeds the maximum allowed force

of 5 pounds (22.2 N) pertaining to the continuous application of force necessary to fully

open a door, in violation of Federal Law 2010, ADAAG § 404.2.9. The Plaintiff had

difficulty opening this door to the men’s restroom in The Cheesecake Factory as a result

of the force needed to open this door, and he required assistance to open this door.

   l.    In the men’s restroom in The Cheesecake Factory, the coat hook is installed at

about 55 inches above the finish floor and higher than the maximum allowed height of 48

inches above the finish floor, in violation of Federal Law 2010, ADAAG § 603.4. As a

result of its height above the finish floor, the Plaintiff could not use this coat hook from his

wheelchair.

   WOMEN’S RESTROOM


                                           9
      Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 10 of 14




             m. The force needed to open the entrance door to the women’s restroom in The
       Cheesecake Factory is about 12 pounds, which force exceeds the maximum allowed force

       of 5 pounds (22.2 N) pertaining to the continuous application of force necessary to fully

       open a door, in violation of Federal Law 2010, ADAAG § 404.2.9. The Plaintiff had

       difficulty opening this door to the women’s restroom in The Cheesecake Factory as a result

       of the force needed to open this door, and he required assistance to open this door.

             n.     In the women’s restroom in The Cheesecake Factory, the toilet paper dispenser

       centerline is about zero inches from the front of the water closet and not between a

       minimum of 7 inches and a maximum of 9 inches, in violation of Federal Law 2010,

       ADAAG § 604.7. Due to this condition, the Plaintiff could not reach the toilet paper from

       a normal sitting position on the toilet.

             o.     In the women’s restroom in The Cheesecake Factory, the coat hook is installed

       at about 55 inches above the finish floor and higher than the maximum allowed height of

       48 inches above the finish floor, in violation of Federal Law 2010, ADAAG § 603.4. As

       a result of its height above the finish floor, the Plaintiff could not use this coat hook from

       his wheelchair.


       36.         All of the foregoing violations are also violations of the 1991 Americans with

Disability Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,

as promulgated by the U.S. Department of Justice.

       37.        The discriminatory violations described in paragraph 35 are not an exclusive list of

the Defendants’ ADA violations. Plaintiff requires the inspection of the Defendants’ places of

public accommodation in order to photograph and measure all of the discriminatory acts violating

the ADA and all of the barriers to access. In order to remedy this discriminatory situation, the

                                                   10
      Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 11 of 14




Plaintiff requires an inspection of the Defendants’ places of public accommodation to determine

all of the areas of non-compliance with the Americans with Disabilities Act.

       38.     The individual Plaintiff, and all other individuals similarly situated, have been

denied access to, and have been denied the benefits of services, programs and activities of the

Defendants’ buildings and its facilities, and have otherwise been discriminated against and

damaged by the Defendants because of the Defendants’ ADA violations, as set forth above. The

individual Plaintiff, and all others similarly situated will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein.

       39.     Defendants have discriminated against the individual by denying individuals access

to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of their places of public accommodation or commercial facilities in violation of

42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq.

       40.     Furthermore, the Defendants continue to discriminate against the Plaintiff, and all

those similarly situated, by failing to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford all offered goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities; and by failing to take

such efforts that may be necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals because of the absence

of auxiliary aids and services.

       41.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and Defendants, a remedy in equity is

warranted.

       42.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s



                                                 11
      Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 12 of 14




fees, costs and litigation expenses from the Defendants pursuant to 42 U.S.C. § 12205 and 28 CFR

36.505.

       43.     Defendants are required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of public accommodation

that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been

an alteration to Defendants’ places of public accommodation since January 26, 1992, then the

Defendants are required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including individuals

who use wheelchairs, 28 CFR 36.402; and finally, if the Defendants’ facilities were designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendants’ facilities must be readily accessible to and useable by individuals with disabilities

as defined by the ADA.

       44.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

or waived by the Defendants.

       45.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff injunctive relief, including an order to require the Defendants to alter The Cheesecake

Factory and adjacent parking areas and walking surfaces, to make those facilities readily accessible

and useable to the Plaintiff and all other persons with disabilities as defined by the ADA; or by

closing the facilities until such time as the Defendants cure their violations of the ADA.




       WHEREFORE, Plaintiff respectfully requests:


                                                 12
Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 13 of 14




       a.      The Court issue a Declaratory Judgment that determines that at the

commencement of the subject lawsuit the Defendants are in violation of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.


       b.      Injunctive relief against the Defendants including an order to make all

readily achievable alterations to the facilities; or to make such facilities readily accessible

to and usable by individuals with disabilities to the extent required by the ADA; and to

require the Defendants to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford all offered goods, services,

facilities, privileges, advantages or accommodations to individuals with disabilities; and to

require the Defendants to take such steps that may be necessary to ensure that no individual

with a disability is excluded, denied services, segregated or otherwise treated differently

than other individuals because of the absence of auxiliary aids and services.


       c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42

U.S.C. § 12205, 28 U.S.C. § 1920, 42 U.S.C. § 2000e-5(k), and 42 U.S.C. § 12117(a).


       d.      Such other relief as the Court deems just and proper, and/or is allowable

under Title III of the Americans with Disabilities Act.




                        DESIGNATION OF PLACE OF TRIAL

       Plaintiff, Fred Nekouee, by and through his undersigned counsel, hereby

designates Kansas City, Kansas as the place of trial for this action.


                                   Respectfully submitted,


                                          13
Case 2:18-cv-02628-JAR-JPO Document 1 Filed 11/20/18 Page 14 of 14




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                                14
